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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

 

IN RE THE BANCORP INC, Case No. 14-cv-0952 (SLR)
SECURITIES LITIGATION

 

 

[PROPOSED] ORDER PRELIMINARILY APPROVING
SETTLEMENT AND PROVIDING FOR NOTICE

WHEREAS, a consolidated class action is pending in this Court styled In re The Bancorp
Inc. Securities Litigation, Master File Number 1:14-cv-00952 (the “Action”);

WHEREAS, (a) Lead Plaintiffs Arkansas Teacher Retirement System and Arkansas
Public Employees Retirement System (collectively, “Lead Plaintiffs”), on behalf of themselves
and the Settlement Class (defined below), and (b) defendant The Bancorp, Inc. (“Bancorp”) and
defendants Betsy Z. Cohen, Paul Frenkiel, Frank M. Mastrangelo, and Jeremy Kuiper
(collectively, the “Individual Defendants”; together with Bancorp, the “Defendants”; and,
together with Lead Plaintiffs, the “‘Parties”) have determined to settle all claims asserted against
Defendants in this Action with prejudice on the terms and conditions set forth in the Stipulation
and Agreement of Settlement dated July 27, 2016 (the “Stipulation’”’) subject to approval of this
Court (the “Settlement”;

WHEREAS, Lead Plaintiffs have made an application, pursuant to Rule 23 of the Federal
Rules of Civil Procedure, for an order preliminarily approving the Settlement in accordance with
the Stipulation, certifying the Settlement Class for purposes of the Settlement only, and allowing

notice to Settlement Class Members as more fully described herein;
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WHEREAS, the Court has read and considered: (a) Lead Plaintiffs’ motion for
preliminary approval of the Settlement, and the papers filed and arguments made in connection
therewith; and (b) the Stipulation and the exhibits attached thereto; and

WHEREAS, unless otherwise defined in this Order, all capitalized words contained
herein shall have the same meanings as they have in the Stipulation;

NOW THEREFORE, IT IS HEREBY ORDERED:

1. Class Certification for Settlement Purposes — Pursuant to Rule 23(a) and (b)(3)
of the Federal Rules of Civil Procedure, the Court certifies, solely for purposes of effectuating
the proposed Settlement, a Settlement Class consisting of all persons or entities who purchased
or otherwise acquired Bancorp common stock during the period from January 26, 2011 through
June 26, 2015, inclusive (the “Settlement Class Period’), and were damaged thereby. Excluded
trom the Settlement Class are: Defendants; Bancorp’s affiliates and subsidiaries; the Officers and
directors of Bancorp and its subsidiaries and affiliates at all relevant times; members of the
Immediate Family of any excluded person; heirs, successors, and assigns of any excluded person
or entity; and any entity in which any excluded person has or had a controlling interest. Also
excluded from the Settlement Class are any persons who and entities which exclude themselves
by submitting a request for exclusion that is accepted by the Court.

2. Class Findings — Solely for purposes of the proposed Settlement of this Action,
the Court finds that each element required for certification of the Settlement Class pursuant to
Rule 23 of the Federal Rules of Civil Procedure has been met: (a) the members of the Settlement
Class are so numerous that their joinder in the Action would be impracticable; (b) there are
questions of law and fact common to the Settlement Class which predominate over any

individual questions; (c) the claims of Lead Plaintiffs in the Action are typical of the claims of
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the Settlement Class; (d) Lead Plaintiffs and Co-Lead Counsel have and will fairly and
adequately represent and protect the interests of the Settlement Class; and (e) a class action is
superior to other available methods for the fair and efficient adjudication of the Action.

3. The Court hereby finds and concludes that pursuant to Rule 23 of the Federal
Rules of Civil Procedure, and for the purposes of the Settlement only, Lead Plaintiffs Arkansas
Teacher Retirement System and Arkansas Public Employees Retirement System are adequate
class representatives and certifies them as Class Representatives for the Settlement Class. The
Court also appoints Co-Lead Counsel as Class Counsel for the Settlement Class, pursuant to
Rule 23(g) of the Federal Rules of Civil Procedure.

4, Preliminary Approval of the Settlement — The Court hereby preliminarily
approves the Settlement, as embodied in the Stipulation, as being fair, reasonable and adequate
to the Settlement Class, subject to further consideration at a settlement hearing to be conducted
as described below.

5. Settlement Hearing — The Court will hold a settlement hearing (the “Settlement
Hearing”) on Dhecernber- 15 , 2016 at J: 10 pm. in Courtroom 4B of the United States District
Court for the District of Delaware, J. Caleb Boggs Federal Building, 844 N. King Street,
Wilmington, Delaware 19801-3568, for the following purposes: (a) to determine whether the
proposed Settlement on the terms and conditions provided for in the Stipulation is fair,
reasonable and adequate to the Settlement Class, and should be approved by the Court; (b) to
determine whether a Judgment substantially in the form attached as Exhibit B to the Stipulation
should be entered dismissing the Action with prejudice against Defendants; (c) to determine
whether the proposed Plan of Allocation for the proceeds of the Settlement is fair and reasonable

and should be approved; (d) to determine whether the motion by Co-Lead Counsel for an award
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of attorneys’ fees and reimbursement of Litigation Expenses should be approved; and (e) to
consider any other matters that may properly be brought before the Court in connection with the
Settlement. Notice of the Settlement and the Settlement Hearing shall be given to Settlement
Class Members as set forth in paragraph 7 of this Order.

6. The Court may adjourn the Settlement Hearing without further notice to the
Settlement Class, and may approve the proposed Settlement with such modifications as the
Parties may agree to, if appropriate, without further notice to the Settlement Class.

7. Retention of Claims Administrator and Manner of Giving Notice — Co-Lead
Counsel are hereby authorized to retain Garden City Group, LLC (“GCG” or the “Claims
Administrator’) to supervise and administer the notice procedure in connection with the
proposed Settlement, and to process Claims as more fully set forth below. Notice of the
Settlement and the Settlement Hearing shall be given by Co-Lead Counsel as follows:

(a) within ten (10) business days of the date of entry of this Order, Bancorp
shall provide or cause to be provided to the Claims Administrator in electronic format (at no cost
to the Settlement Fund, Co-Lead Counsel or the Claims Administrator) its shareholder lists
(consisting of names and addresses) for the holders of Bancorp common stock during the
Settlement Class Period;

(b) not later than twenty (20) business days after the date of entry of this
Order (the “Notice Date”), the Claims Administrator shall cause a copy of the Notice and the
Claim Form, substantially in the forms attached hereto as Exhibits 1 and 2, respectively (the
“Notice Packet”), to be mailed by first-class mail to potential Settlement Class Members at the
addresses set forth in the records provided by Bancorp or in the records which Bancorp caused to

be provided, or who otherwise may be identified through further reasonable effort;
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(c) contemporaneously with the mailing of the Notice Packet, the Claims
Administrator shall cause copies of the Notice and the Claim Form to be posted on a website to
be developed for the Settlement, from which copies of the Notice and Claim Form can be
downloaded;

(d) not later than ten (10) business days after the Notice Date, the Claims
Administrator shall cause the Summary Notice, substantially in the form attached hereto as
Exhibit 3, to be published once in The Wall Street Journal and to be transmitted once over the
PR Newswire; and

(e) not later than seven (7) calendar days prior to the Settlement Hearing,
Co-Lead Counsel shall serve on Defendants’ Counsel and file with the Court proof, by affidavit
or declaration, of such mailing and publication.

8. Approval of Form and Content of Notice — The Court (a) approves, as to form
and content, the Notice, the Claim Form, and the Summary Notice, attached hereto as Exhibits 1,
2, and 3, respectively, and (b) finds that the mailing and distribution of the Notice and Claim
Form and the publication of the Summary Notice in the manner and form set forth in paragraph 7
of this Order: (i) is the best notice practicable under the circumstances; (ii) constitutes notice that
is reasonably calculated, under the circumstances, to apprise Settlement Class Members of the
pendency of the Action, of the effect of the proposed Settlement (including the Releases to be
provided thereunder), of Co-Lead Counsel’s motion for an award of attorneys’ fees and
reimbursement of Litigation Expenses, of their right to object to the Settlement, the Plan of
Allocation and/or Co-Lead Counsel’s motion for attorneys’ fees and reimbursement of Litigation
Expenses, of their right to exclude themselves from the Settlement Class, and of their right to

appear at the Settlement Hearing; (iii) constitutes due, adequate and sufficient notice to all
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persons and entities entitled to receive notice of the proposed Settlement; and (iv) satisfies the
requirements of Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution
(including the Due Process Clause), the Private Securities Litigation Reform Act of 1995, 15
U.S.C. § 78u-4, as amended, and all other applicable law and rules. The date and time of the
Settlement Hearing shall be included in the Notice and Summary Notice before they are mailed
and published, respectively.

9. Nominee Procedures — Brokers and other nominees who purchased or otherwise
acquired Bancorp common stock during the Settlement Class Period for the benefit of another
person or entity shall: (a) within seven (7) calendar days of receipt of the Notice, request from
the Claims Administrator sufficient copies of the Notice Packet to forward to all such beneficial
owners and within seven (7) calendar days of receipt of those Notice Packets forward them to all
such beneficial owners; or (b) within seven (7) calendar days of receipt of the Notice, send a list
of the names and addresses of all such beneficial owners to the Claims Administrator in which
event the Claims Administrator shall promptly mail the Notice Packet to such beneficial owners.
Upon full compliance with this Order, such nominees may seek reimbursement of their
reasonable expenses actually incurred in complying with this Order by providing the Claims
Administrator with proper documentation supporting the expenses for which reimbursement is
sought. Such properly documented expenses incurred by nominees in compliance with the terms
of this Order shall be paid from the Settlement Fund, with any disputes as to the reasonableness
or documentation of expenses incurred subject to review by the Court.

10.‘ Participation _in the Settlement — Settlement Class Members who wish to
participate in the Settlement and to be eligible to receive a distribution from the Net Settlement

Fund must complete and submit a Claim Form in accordance with the instructions contained
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therein. Unless the Court orders otherwise, all Claim Forms must be postmarked no later than
one hundred twenty (120) calendar days after the Notice Date. Notwithstanding the foregoing,
Co-Lead Counsel may, at their discretion, accept for processing late Claims provided such
acceptance does not delay the distribution of the Net Settlement Fund to the Settlement Class.
By submitting a Claim, a person or entity shall be deemed to have submitted to the jurisdiction of
the Court with respect to his, her or its Claim and the subject matter of the Settlement.

11. Each Claim Form submitted must satisfy the following conditions: (a) it must be
properly completed, signed and submitted in a timely manner in accordance with the provisions
of the preceding paragraph; (b) it must be accompanied by adequate supporting documentation
for the transactions and holdings reported therein, in the form of broker confirmation slips,
broker account statements, an authorized statement from the broker containing the transactional
and holding information found in a broker confirmation slip or account statement, or such other
documentation as is deemed adequate by Co-Lead Counsel or the Claims Administrator; (c) if
the person executing the Claim Form is acting in a representative capacity, a certification of his,
her or its current authority to act on behalf of the Settlement Class Member must be included in
the Claim Form to the satisfaction of Co-Lead Counsel or the Claims Administrator; and (d) the
Claim Form must be complete and contain no material deletions or modifications of any of the
printed matter contained therein and must be signed under penalty of perjury.

12. Any Settlement Class Member that does not timely and validly submit a Claim
Form or whose Claim is not otherwise approved by the Court: (a) shall be deemed to have
waived his, her or its right to share in the Net Settlement Fund; (b) shall be forever barred from
participating in any distributions therefrom; (c) shall be bound by the provisions of the

Stipulation and the Settlement and all proceedings, determinations, orders and judgments in the
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Action relating thereto, including, without limitation, the Judgment or Alternate Judgment, if
applicable, and the Releases provided for therein, whether favorable or unfavorable to the
Settlement Class; and (d) will be barred from commencing, maintaining or prosecuting any of
the Released Plaintiffs’ Claims against each and all of the Defendants’ Releasees, as more fully
described in the Stipulation and Notice. Notwithstanding the foregoing, late Claim Forms may
be accepted for processing as set forth in paragraph 10 above.

13. Exclusion From the Settlement Class — Any member of the Settlement
Class who wishes to exclude himself, herself or itself from the Settlement Class must request
exclusion in writing within the time and in the manner set forth in the Notice, which shall
provide that (a) any such request for exclusion from the Settlement Class must be mailed or
delivered such that it is received no later than twenty-one (21) calendar days prior to the
Settlement Hearing, to: Bancorp Securities Litigation, EXCLUSIONS, c/o GCG, P.O. Box
10308, Dublin, OH 43017-5908, and (b) each request for exclusion must: (i) state the name,
address, and telephone number of the person or entity requesting exclusion, and in the case of
entities, the name and telephone number of the appropriate contact person; (ii) state that such
person or entity “requests exclusion from the Settlement Class in In re The Bancorp Inc.
Securities Litigation, Case No. 14-cv-00952 (SLR)”; (iii) state the number of shares of Bancorp
common stock that the person or entity requesting exclusion purchased/acquired and/or sold
during the Settlement Class Period, as well as the number of shares, dates and prices (excluding
any commissions and/or transaction fees paid) of each such purchase/acquisition and sale; and
(iv) be signed by the person or entity requesting exclusion or an authorized representative. A
request for exclusion shall not be effective unless it provides all the required information and is

received within the time stated above, or is otherwise accepted by the Court.
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14. Any person who or entity which timely and validly requests exclusion in
compliance with the terms stated in this Order and is excluded from the Settlement Class shall
not be a Settlement Class Member, shall not be bound by the terms of the Settlement or any
orders or judgments in the Action, and shall not receive any payment out of the Net Settlement
Fund.

15. Any Settlement Class Member who or which does not timely and validly request
exclusion from the Settlement Class in the manner stated in this Order: (a) shall be deemed to
have waived his, her or its right to be excluded from the Settlement Class; (b) shall be forever
barred from requesting exclusion from the Settlement Class in this or any other proceeding;
(c) shall be bound by the provisions of the Stipulation and Settlement and all proceedings,
determinations, orders and judgments in the Action including, but not limited to, the Judgment or
Alternate Judgment, if applicable, and the Releases provided for therein, whether favorable or
unfavorable to the Settlement Class; and (d) will be barred from commencing, maintaining or
prosecuting any of the Released Plaintiffs’ Claims against any of the Defendants’ Releasees, as
more fully described in the Stipulation and Notice.

16. Appearance and Objections at Settlement Hearing — Any Settlement Class
Member who does not request exclusion from the Settlement Class may enter an appearance in
the Action, at his, her or its own expense, individually or through counsel of his, her or its own
choice, by filing with the Clerk of Court and delivering a notice of appearance to both Co-Lead
Counsel and Defendants’ Counsel, at the addresses set forth in paragraph 17 below, such that it is
received no later than twenty-one (21) calendar days prior to the Settlement Hearing, or as the
Court may otherwise direct. Any Settlement Class Member who does not enter an appearance

will be represented by Co-Lead Counsel.
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17. Any Settlement Class Member who does not request exclusion from the
Settlement Class may file a written objection to the proposed Settlement, the proposed Plan of
Allocation, and/or Co-Lead Counsel’s motion for an award of attorneys’ fees and reimbursement
of Litigation Expenses and appear and show cause, if he, she or it has any cause, why the
proposed Settlement, the proposed Plan of Allocation and/or Co-Lead Counsel’s motion for
attorneys’ fees and reimbursement of Litigation Expenses should not be approved; provided,
however, that no Settlement Class Member shall be heard or entitled to contest the approval of
the terms and conditions of the proposed Settlement, the proposed Plan of Allocation and/or the
motion for attorneys’ fees and reimbursement of Litigation Expenses unless that person or entity
has filed a written objection with the Court and served copies of such objection on Co-Lead
Counsel and Defendants’ Counsel at the addresses set forth below such that they are received no

later than twenty-one (21) calendar days prior to the Settlement Hearing.

Co-Lead Counsel Defendants’ Counsel
Bernstein Litowitz Berger & Dechert LLP
Grossmann LLP Michael L. Kichline, Esq.
John Rizio-Hamilton, Esq. Cira Centre
1251 Avenue of the Americas, 44th Floor 2929 Arch Street
New York, NY 10020 Philadelphia, PA 19104-2808

Spector Roseman Kodroff & Willis, P.C.
Robert M. Roseman, Esq.
1818 Market Street, Suite 2500
Philadelphia, PA 19103
18. — Any objections, filings and other submissions by the objecting Settlement Class
Member: (a) must state the name, address, and telephone number of the person or entity
objecting and must be signed by the objector; (b) must contain a statement of the Settlement

Class Member’s objection or objections, and the specific reasons for each objection, including

any legal and evidentiary support the Settlement Class Member wishes to bring to the Court’s

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attention; and (c) must include documents sufficient to prove membership in the Settlement
Class, including the number shares of Bancorp common stock that the objecting Settlement Class
Member purchased/acquired and/or sold during the Settlement Class Period, as well as the
number of shares, dates and prices (excluding any commissions and/or transaction fees paid) of
each such purchase/acquisition and sale. Objectors who enter an appearance and desire to
present evidence at the Settlement Hearing in support of their objection must include in their
written objection or notice of appearance the identity of any witnesses they may call to testify
and any exhibits they intend to introduce into evidence at the hearing.

19. | Any Settlement Class Member who or which does not make his, her or its
objection in the manner provided herein shall be deemed to have waived his, her or its right to
object to any aspect of the proposed Settlement, the proposed Plan of Allocation, and Co-Lead
Counsel’s motion for an award of attorneys’ fees and reimbursement of Litigation Expenses and
shall be forever barred and foreclosed from objecting to the fairness, reasonableness or adequacy
of the Settlement, the Plan of Allocation or the requested attorneys’ fees and Litigation
Expenses, or from otherwise being heard concerning the Settlement, the Plan of Allocation or the
requested attorneys’ fees and Litigation Expenses in this or any other proceeding.

20. Stay and Temporary Injunction — Until otherwise ordered by the Court, the
Court stays all proceedings in the Action other than proceedings necessary to carry out or
enforce the terms and conditions of the Stipulation. Pending final determination of whether the
Settlement should be approved, the Court bars and enjoins Lead Plaintiffs, and all other members
of the Settlement Class, from commencing or prosecuting any and all of the Released Plaintiffs’

Claims against each and all of the Defendants’ Releasees.

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21. Settlement Administration Fees and Expenses — All reasonable costs incurred
in identifying Settlement Class Members and notifying them of the Settlement as well as in
administering the Settlement shall be paid as set forth in the Stipulation without further order of
the Court.

22. Settlement Fund — The contents of the Settlement Fund held by Valley National
Bank (which the Court approves as the Escrow Agent), shall be deemed and considered to be in
custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until such
time as they shall be distributed pursuant to the Stipulation and/or further order(s) of the Court.

23. Taxes — Co-Lead Counsel are authorized and directed to prepare any tax returns
and any other tax reporting form for or in respect to the Settlement Fund, to pay from the
Settlement Fund any Taxes owed with respect to the Settlement Fund, and to otherwise perform
all obligations with respect to Taxes and any reporting or filings in respect thereof without
further order of the Court in a manner consistent with the provisions of the Stipulation.

24. ‘Termination of Settlement — If the Settlement is terminated as provided in the
Stipulation, the Settlement is not approved, or the Effective Date of the Settlement otherwise
fails to occur, this Order shall be vacated, rendered null and void and be of no further force and
effect, except as otherwise provided by the Stipulation, and this Order shall be without prejudice
to the rights of Lead Plaintiffs, the other Settlement Class Members and Defendants, and the
Parties shall revert to their respective positions in the Action as of July 18, 2016, as provided in
the Stipulation.

25. Use of this Order — Neither this Order, the Term Sheet, the Stipulation (whether
or not consummated), including the exhibits thereto and the Plan of Allocation contained therein

(or any other plan of allocation that may be approved by the Court), the negotiations leading to

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the execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in
connection with the Term Sheet, the Stipulation and/or approval of the Settlement (including any
arguments proffered in connection therewith): (a) shall be offered against any of the Defendants’
Releasees as evidence of, or construed as, or deemed to be evidence of any presumption,
concession, or admission by any of the Defendants’ Releasees with respect to the truth of any
fact alleged by Lead Plaintiffs or the validity of any claim that was or could have been asserted
or the deficiency of any defense that has been or could have been asserted in this Action or in
any other litigation, or of any liability, negligence, fault, or other wrongdoing of any kind of any
of the Defendants’ Releasees or in any way referred to for any other reason as against any of the
Defendants’ Releasees, in any civil, criminal or administrative action or proceeding, other than
such proceedings as may be necessary to effectuate the provisions of the Stipulation; (b) shall be
offered against any of the Plaintiffs’ Releasees, as evidence of, or construed as, or deemed to be
evidence of any presumption, concession or admission by any of the Plaintiffs’ Releasees that
any of their claims are without merit, that any of the Defendants’ Releasees had meritorious
defenses, or that damages recoverable under the Complaint would not have exceeded the
Settlement Amount or with respect to any liability, negligence, fault or wrongdoing of any kind,
or in any way referred to for any other reason as against any of the Plaintiffs’ Releasees, in any
civil, criminal or administrative action or proceeding, other than such proceedings as may be
necessary to effectuate the provisions of the Stipulation; or (c) shall be construed against any of
the Releasees as an admission, concession, or presumption that the consideration to be given
under the Settlement represents the amount which could be or would have been recovered after

trial; provided, however, that if the Stipulation is approved by the Court, the Parties and the

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Releasees and their respective counsel may refer to it to effectuate the protections from liability
granted thereunder or otherwise to enforce the terms of the Settlement.

26. Supporting Papers — Co-Lead Counsel shall file and serve the opening papers in
support of the proposed Settlement, the Plan of Allocation, and Co-Lead Counsel’s motion for an
award of attorneys’ fees and reimbursement of Litigation Expenses no later than thirty-five (35)
calendar days prior to the Settlement Hearing; and reply papers, if any, shall be filed and served
no later than seven (7) calendar days prior to the Settlement Hearing.

27. The Court retains jurisdiction to consider all further applications arising out of or

connected with the proposed Settlement.

SO ORDERED this! MK day of Angeaty , 2016.

The Hondrable Sue L. Robinson
United States District Judge

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